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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

THE SALVATION ARMY, BARRY J. CIVIL ACTION NO.
SALLINGER, AND CYPRESS STREET

PROPERTIES, LLC MAGISTRATE JUDGE
VERSUS

UNION PACIFIC RAILROAD

COMPANY, CONSOLIDATED
COMPANIES, INC., AND SOUTHERN
PACIFIC MOTOR TRUCKING
COMPANY

NOTICE OF REMOVAL

TO: The Salvation Army, Barry J. Sallinger, and Cypress Street Properties, LLC
Through their attorneys of record:

William W. Goodell, Jr.

. The Goodell Law Firm
Post Office Box 52663
Lafayette, Louisiana 70505

-and-

Elizabeth A. Roche

Korey A. Nelson

Burns Charest LLP

365 Canal Street, Suite 1170
New Orleans, Louisiana 70130

-and-

Gordon Schoeffler
Post Office Box 4829
Lafayette, Louisiana 70502

-and-
Joseph R. Joy, II

Post Office Box 4929
Lafayette, Louisiana 7050

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Defendant, Union Pacific Railroad Company (“Union Pacific”), pursuant to 28 U.S.C. §§
1331, 1332, 1367, 1441, and 1446, hereby removes the action captioned The Salvation Army,
Barry J. Sallinger, and Cypress Street Properties, LLC v. Union Pacific Railroad Company,
Consolidated Companies, Inc., and Southern Pacific Motor Trucking Company, Case No. 2016-
0548-F, 15th Judicial District Court, Parish of Lafayette, State of Louisiana, to the United States
District Court for the Western District of Louisiana. This Court has subject matter jurisdiction
over the claims of the plaintiffs in the aforementioned Lafayette Parish litigation (collectively
“Plaintiffs”) under 28 U.S.C. § 1332, as the matter in controversy exceeds the sum of
$75,000.00, exclusive of interest and costs, and is properly between citizens of different states.
In addition, this Court has subject matter jurisdiction over the claims of Plaintiffs under 28
U.S.C. §§ 1331 and 1367 because Plaintiffs have artfully pled an action arising under federal
law, and all remaining claims form part of the same case or controversy under Article II of the
United States Constitution.

Defendants respectfully submit that the grounds for removal are as follows:

NOTICE OF REMOVAL IS TIMELY AND PROCEDURALLY PROPER

1. Plaintiffs filed a petition (“the Petition”) titled and designated as The Salvation
Army, Barry J. Sallinger, and Cypress Street Properties, LLC v. Union Pacific Railroad
Company, Consolidated Companies, Inc., and Southern Pacific Motor Trucking Company, Case
No. 2016-0548-F, in the 15th Judicial District Court, Parish of Lafayette, State of Louisiana,
which is in the Western District of Louisiana.

2. Union Pacific Railroad Company (“Union Pacific”) was served with the Petition
on February 15, 2016 via its Louisiana agent for service of process.

3. This Notice of Removal is filed within thirty days after Union Pacific was served

with Plaintiffs’ Petition and less than one year after the commencement of the action.

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4, Defendant Southern Pacific Motor Trucking Company (“Southern Pacific”)
consents to the removal of this action. See Exhibit “A.”

5. Defendant Consolidated Companies, Inc. (““Conco”) consents to the removal of
this action. See Exhibit “B.”

6. Union Pacific, Southern Pacific, and Conco are collectively referred to as
“Defendants” below.

FEDERAL DIVERSITY JURISDICTION
THE PROPERLY JOINED PARTIES ARE OF DIVERSE CITIZENSHIP

7. At the time Plaintiffs filed their Petition and Union Pacific filed this Notice of

Removal, Plaintiffs were and remain citizens of the states identified below:

a. The Salvation Army was and still is a non-profit corporation organized
under the laws of the state of Georgia with a principal place of business in
Georgia. The Salvation Army is therefore a citizen of Georgia for federal
diversity jurisdiction purposes. 28 U.S.C. § 1332(c).

b. Barry J. Salinger was and still is a natural person domiciled in Louisiana
and is therefore a citizen of Louisiana for federal diversity jurisdiction
purposes. Hollinger v. Home State Mut. Ins. Co., 654 F.3d 564, 571 (5th
Cir. 2011).

c. Cypress Street Properties, LLC was and still is a limited liability company,
of which all members are identified as “citizens of Louisiana.”! The
citizenship of a limited liability company is determined by the citizenship
of its members. Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080
(Sth Cir. 2008). Cypress Street Properties, LLC is therefore a citizen of
Louisiana for federal diversity jurisdiction purposes.

8. At the time Plaintiffs filed their Petition and Union Pacific filed this Notice of
Removal, Defendants were and remain citizens of the states identified below:

a. Union Pacific was and still is a business corporation organized under the

laws of the state of Delaware with its principal place of business in

Nebraska. Union Pacific is therefore a citizen of Delaware and Nebraska
for federal diversity jurisdiction purposes. 28 U.S.C. § 1332(c).

 

! See Exhibit “C,” Petition, { 7(c).

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b. Southern Pacific was and still is a business corporation organized under

_the laws of the state of California with its principal place of business in
Nebraska. Southern Pacific is therefore a citizen of California and
Nebraska for federal diversity jurisdiction purposes. 28 U.S.C. § 1332(c).

c. Conco is a business corporation organized under the laws of the state of
Louisiana with its principal place of business in Louisiana. Conco is
therefore a citizen of Louisiana for federal diversity jurisdiction purposes.
28 U.S.C. § 1332(c).

However, Plaintiffs have “no reasonable possibility of recovery” against
Conco, such that Conco is improperly joined. See Guillory v. PPG Indus.,
Inc., 434 F.3d 303, 312 (Sth Cir. 2005). Plaintiffs have no possibility of
recovery against Conco because all of their claims against Conco are
prescribed with the exception of one claim, unjust enrichment, for which
no cause of action exists as pled in the Petition. “The improper joinder
doctrine permits a court to ignore the citizenship of a nondiverse party
when evaluating whether the parties are diverse in citizenship.” Practical
Healthcare Supply, Inc. v. AssuredPartners Gulf Coast Ins. Agency, LLC,
112 F. Supp. 3d 519, 522 n.1 (W.D. La. 2015). Because it was improperly
joined, Conco’s Louisiana citizenship is not a bar to the removal of this
matter, as its citizenship is not factored into the federal diversity
jurisdiction analysis.

9, As shown, complete diversity of citizenship exists between Plaintiffs on the one
hand and Defendants on the other.
THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.00 EXCLUSIVE OF COSTS AND INTEREST
10. _— Plaintiffs seek, inter alia, (a) the testing and remediation (Exhibit “C,” Petition, §
6(A)-(D)) of a “40 acre” Ud. at §[ 2) tract of immovable property owned by Union Pacific and
Southern Pacific? as well as (b) tort damages (Ud. at J§| 58-66; J] 72-84), punitive damages (id. at
{ 66), and unjust enrichment damages (Id. at §§] 89-90) for four tracts of land owned by

Plaintiffs.3

 

2 Plaintiffs allege that Conco divested itself of ownership of any interest in the referenced property no later than
2011. See id. at § 20.

3 Including two tracts owned by The Salvation Army (/d. at { 7(A)), one tract owned by Barry J. Sallinger (/d. at f
7(B)), and one tract owned by Cypress Street Properties, LLC (/d. at J 7(C)).

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11. Although a specific amount in controversy is not alleged, the breadth of Plaintiffs’
allegations are such that the amount in controversy can be expected by the preponderance of the
evidence or with reasonable certainty to exceed $75,000.00 exclusive of costs and interest.

CONCLUSION REGARDING FEDERAL DIVERSITY JURISDICTION

12. The action is one over which this Court has original jurisdiction pursuant to 28
U.S.C. § 1332, as this civil controversy is wholly between citizens of different states and the
amount in controversy exceeds the sum of $75,000.00, exclusive of interest and costs.
Therefore, in accordance with 28 U.S.C. § 1441, this case may be removed to the United States
District Court for the Western District of Louisiana.

FEDERAL QUESTION JURISDICTION

13. Plaintiffs have asserted that they disavow any federal cause of action (Exhibit
“C,;” Petition, § 11). Nevertheless, removal predicated on 28 U.S.C. § 1331 and the “artful
pleading” doctrine is allowed if: (1) federal law has completely preempted the state law that
serves as the basis for the plaintiff's complaint, or (2) a federal question, not pleaded in the
plaintiff's complaint, is nonetheless both “intrinsic and central” to the plaintiffs cause of action.*

14. Plaintiffs seek testing and remediation of property owned by Union Pacific and
Southern Pacific, which they describe in their petition as the “Facility,” and which they further
allege contains “Superfund” contaminants, and which they further allege poses a substantial and
imminent endangerment to the general public. Exhibit “C,” Petition, §§[ 2-6, 47-51.

15. Plaintiffs’ Petition purports to assert only delictual causes of action arising under
Louisiana law. Exhibit “C,” Petition, ] 53-89. However, none of these causes of action, as
defined by Louisiana law, entitles a plaintiff to obtain a judicial order for the testing and

remediation of property that is not owned by the plaintiff.

 

4 Brumfield v. City of Baker, No. CIV.A. 11-507-BAJ-CN, 2011 WL 5178267, *3 (M.D. La. Sept. 30, 2011), report
and recommendation adopted, No. CIV.A. 11-507-BAJ-CN, 2011 WL 5238720 (M.D. La. Oct. 31, 2011).

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16. _—_ Instead, while avoiding direct reference to the statute, Plaintiffs both intrinsically
and centrally* rely on federal causes of action, including in particular, but without limitation, the
“jmminent and substantial endangerment” prong of the citizen’s suit provisions of the Resource
Conservation and Recovery Act (“RCRA”) (42 U.S.C. § 9601 et seqg.). Plaintiffs twice adopt the
phraseology of RCRA’s citizen suit provision verbatim in their Petition by alleging the existence
of “imminent and substantial endangerment.” Furthermore, they wholesale adopt the language
of federal environmental law in setting forth their claim, using the threat of “imminent and
substantial endangerment” to justify obtaining a judicial order requiring assessment and
remediation of “Superfund” contaminants in or under the “Facility” (again, property not owned
by Plaintiffs). Compare 42 U.S.C. § 6972(a)(1)(B) and Exhibit “C,” Petition, § 4, 36.

17. Because RCRA’s citizen suit provision and similar provisions of federal law
comprise the sole vehicle for Plaintiffs to obtain the remedy they seek—remediation of alleged
contamination on Union Pacific and Southern Pacific’s property—Plaintiffs have artfully pled a
RCRA citizen suit, effectively seeking to have the state court in which they initially brought their
action grant them certain remedies under federal law which are not available to them under state
law.6

18. Because federal law “creates the cause of action” for the remediation of alleged
contamination on Union Pacific and Southern Pacific’s property, federal jurisdiction exists under
28 U.S.C. § 1331. Leaumont v. City of Alexandria, 582 F. App’x 407, 409 (5th Cir. 2014)

(discussing the predicates for federal question jurisdiction).

 

5 See id.

© Union Pacific notes that Plaintiffs have begun taking the prerequisite steps required to file a RCRA citizen suit.
Without conceding the validity or correctness of those prerequisite steps, the Petition at issue here requests the
same type of relief provided by RCRA, as set forth above. The steps taken by Plaintiffs outside of the context
of the instant litigation have no bearing on the federal remedies sought in the Petition.

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19. This Court may exercise supplemental jurisdiction over the remainder of
Plaintiffs’ claims under 28 U.S.C. § 1367(a), as those claims “form part of the same case or
controversy under Article III of the United States Constitution.” Specifically, Plaintiffs appear to
allege delictual actions in regard to alleged damage to their own property, the operative cause of
which is the alleged migration of contamination from Union Pacific and Southern Pacific’s
property to their own.7

aOR

20. Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders that
have been served on Defendants are hereby attached to this Notice of Removal, along with the
entirety of the State Court record. See Exhibit “C.”

21. Concurrent with the filing of this Notice of Removal, written notice is being given
to all parties, and a copy of this Notice of Removal is being filed with the Clerk of Court for the
15th Judicial District Court, Parish of Lafayette, State of Louisiana.

WHEREFORE, Defendants remove this action from the 15th Judicial District Court,
Parish of Lafayette, State of Louisiana, Case No. 2016-0548-F, to this Court pursuant to 28
U.S.C. §§ 1331, 1332, 1367, 1441, and 1446.

[Signature and Service Certificates follow]

 

7 See e.g. Exhibit “C,” Petition, §§ 53-57 (relying on the Louisiana Civil Code’s “neighborhood” articles and
discussing the spread of contamination from Union Pacific and Southern Pacific’s property to Plaintiffs’
respective properties); {J 58, 65 (discussing Louisiana Civil Code article 2315 negligence for alleged
contamination of Union Pacific and Southern Pacific’s property, leading to offsite “migration”); { 66 (again
relying on a “migration” theory for recovery of trespass damages).

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Respectfully submitted,

PHELPS DUNBAR LLP

BY: — /s/ Steven J. Levine

Steven J. Levine, Bar Roll No. 14139

John B. Shortess, Bar Roll No. 26513

Benjamin M. Anderson, Bar Roll No. 32319

II City Plaza | 400 Convention Street, Suite

1100

Baton Rouge, Louisiana 70802-5618

Post Office Box 4412

Baton Rouge, Louisiana 70821-4412

Telephone: 225-346-0285

Telecopier: 225-381-9197

Email: levines@phelps.com
john.shortess@phelps.com
benjamin.anderson@phelps.com

 

-and-

Elena Arcos Pecoraro, Bar Roll No. 26787
Pecoraro Law

600 Jefferson Street

Suite 801

Lafayette, Louisiana 70501

Telephone: 337-266-2334

Telecopier: 337-266-223 1

Email: elena@pecorarolaw.com

-and-

Elizabeth Haik Johnson, Bar Roll No. 28626
509 Rue Chavaniac

Lafayette, LA 70508

Telephone: (337) 278-0302

Telecopier: (337) 216-0206

Email: ehjllc@gmail.com

ATTORNEYS FOR DEFENDANT UNION
PACIFIC RAILROAD COMPANY

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above and foregoing Notice of
Removal has been served on this 14th day of March, 2016, to:
The Salvation Army, Barry J. Sallinger, and Cypress Street Properties, LLC

Through their attorneys of record:

William W. Goodell, Jr. Elizabeth A. Roche

The Goodell Law Firm Korey A. Nelson

Post Office Box 52663 Burns Charest LLP
Lafayette, Louisiana 70505 365 Canal Street, Suite 1170

New Orleans, Louisiana 70130

Gordon Schoeffler Joseph R. Joy, It

Post Office Box 4829 Post Office Box 4929
Lafayette, Louisiana 70502 Lafayette, Louisiana 7050
And

Consolidated Companies, Inc., through their attorneys of record:

Cliff A. LaCour

Jeffery K. Coreil

Neuner Pate

1001 West Pinhook Road, Suite 200
Lafayette, Louisiana 70503

by United States Mail, proper postage prepaid, and Electronic Mail.

/s/ Steven J. Levine
Steven J. Levine

La. Bar Roll No. 14139
levines@phelps.com

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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

THE SALVATION ARMY, BARRY J. CIVIL ACTION NO.
SALLINGER, AND CYPRESS STREET

PROPERTIES, LLC MAGISTRATE JUDGE
VERSUS

UNION PACIFIC RAILROAD

COMPANY, CONSOLIDATED
COMPANIES, INC., AND SOUTHERN
PACIFIC MOTOR TRUCKING
COMPANY

PROOF OF SERVICE

Steven J. Levine, being duly sworn, does depose and say that he is an attorney in the firm
of Phelps Dunbar LLP, counsel for defendant Union Pacific Railroad Company herein.

That on March 14th, 2016, after the Notice of Removal had been filed in the above Court,
he delivered executed copies of the notice to William W. Goodell, Jr., Gordon Schoeffler,
Elizabeth A. Roche, Korey A. Nelson, and Joseph R. Joy, III, attorneys for plaintiffs herein, by
placing same in an envelope with sufficient postage thereon, properly addressed to the attention
of, respectively, William W. Goodell, Jr., The Goodell Law Firm, Post Office Box 52663,
Lafayette, Louisiana 70505; Elizabeth A. Roche and Korey A. Nelson, Burns Charest LLP, 365
Canal Street, Suite 1170, New Orleans, Louisiana 70130; Gordon Schoeffler, Post Office Box
4829, Lafayette, Louisiana 70502; and Joseph R. Joy, III, Post Office Box 4929 Lafayette,
Louisiana 70502, and depositing said envelope, so stamped and addressed, in the United States

mail, and by Electronic Mail.

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Affiant further deposes and says that on the same day he mailed a copy of the Notice of
Removal to the Clerk of Court of the 15th Judicial District Court for the Parish of Lafayette, in
the matter entitled “The Salvation Army, Barry J. Sallinger, and Cypress Street Properties, LLC
v. Union Pacific Railroad Company, Consolidated Companies, Inc., and Southern Pacific Motor
Trucking Company,” now pending on the docket of the 15th Judicial District Court, Parish of

Lafayette, State of Louisiana, bearing Case No. 2016-0548-F.

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Nw LL
\ spre J. Levine

Sworn to and subscribed before me this 14th day of March, 2016.
Jd lie

Karen J. Blakemore
Bar Roll No. 31046
Notary ID. No. 87104
Notary Public, State of Louisiana
Wy Commission is for Life

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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

THE SALVATION ARMY, BARRY J. CIVIL ACTION NO.
SALLINGER, AND CYPRESS STREET

PROPERTIES, LLC MAGISTRATE JUDGE
VERSUS

UNION PACIFIC RAILROAD
COMPANY, CONSOLIDATED
COMPANIES, INC., AND SOUTHERN
PACIFIC MOTOR TRUCKING
COMPANY

AFFIDAVIT
STATE OF LOUISIANA
PARISH OF EAST BATON ROUGE
Steven J. Levine, being duly sworn, did depose and say that he is an attorney in the firm
of Phelps Dunbar LLP, counsel for Union Pacific Railroad Company, defendant herein; that he
has read the foregoing Notice of Removal and that all the facts and allegations therein set forth

are true and correct to the best of his knowledge, information and belief.

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ty J, Levine

Sworn to and subscribed before me this 14th day of March, 2016.
Karen J. Sliakemore

Bar Roll Wo. 31046

OL
Notary iD. No. 87104

Notary Public, State of Louisiana
My Commission ia for Life

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